                                     CAUSE NO. 2020-31417

 RE TITANS LLC and STACY R. GINN                   §              IN THE DISTRICT COURT OF
                                                   §
         Plaintiffs,                               §
                                                   §
                                                   §
 vs.                                               §
                                                   §                  HARRIS COUNTY, TEXAS
 FORA FINANCIAL ADVANCE, LLC,                      §
 FORA FINANCIAL, LLC, and                          §
 FINANCIAL AGENT SERVICES.                         §
                                                   §
         Defendants.                               §                270TH JUDICIAL DISTRICT
                                                   §
                        FORA DEFENDANTS’ ORIGINAL ANSWER

        Fora Financial Advance, LLC and Fora Financial, LLC (collectively “Fora Defendants”)

file this answer to the Original Petition (the “Petition”) filed by Plaintiffs RE Titans LLC and Stacy

R. Ginn, and respectfully show the following:

                                     I.    GENERAL DENIAL

        In accordance with Rule 92 of the Texas Rules of Civil Procedure, Fora Defendants

generally deny all material allegations in the Petition, as well as any amended or supplemental

petitions, and demand strict proof thereof.

                              II.     AFFIRMATIVE DEFENSES

        In addition to its general denial, Fora Defendants assert the following defenses without

conceding which party bears the burden of proof on such defenses:

        1.     Fora Defendants deny that all conditions precedent have been performed.

        2.     Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ fail to state a

claim upon which relief can be granted.

        3.     Plaintiffs’ claims are barred, in whole or in part, due to estoppel in all its forms.

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        4.     Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ suffered no

injury or damages.

        5.     Plaintiffs’ claims are barred, in whole or in part, because Fora Defendants did not

breach any duties it may have owed to Plaintiffs, the existence of which Fora Defendants deny.

        6.     Plaintiffs’ claims are barred, in whole or in part, by Fora Defendants compliance

with applicable statutes, regulations, agency interpretations, and other provisions of the law.

        7.     Plaintiffs’ claims are barred, in whole or in part, by the economic loss rule.

        8.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of unclean hands.

        9.     Plaintiffs’ claims and damages are subject to and/or barred by, in whole or in part,

the terms of any relevant and applicable contracts or agreements.

        10.    Plaintiffs’ claims are barred, in whole or in part, due to waiver.

        11.    Plaintiffs’ claim for attorney’s fees is barred because they have not asserted, and

cannot prevail on, any cause of action that would support an award of attorney’s fees. Fora

Defendants also reserve the right to challenge the reasonableness and necessity of any attorney’s

fees.

        12.    Plaintiffs’ claims may also be barred by other defenses that may arise during this

litigation, which defenses Fora Defendants reserve the right to assert.

                             III.    RESERVATION OF RIGHTS

        As authorized by the Texas Rules of Civil Procedure, Fora Defendants reserve the right to

amend this pleading before the trial of this cause on the merits.

        Some or all of Plaintiffs’ claims are subject to a mandatory arbitration provision, which

Plaintiffs’ have breached by filing this action. Fora Defendants expressly reserve the right to



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enforce that provision and compel arbitration in accordance with the arbitration agreement between

the parties.

                                        IV.     PRAYER

        WHEREFORE, PREMISES CONSIDERED, Fora Defendants pray that Plaintiffs take

nothing on their claims and for all other relief, at law or in equity, to which Fora Defendants are

justly entitled.

                                              Respectfully submitted,

                                              LOCKE LORD LLP


                                              /s/ Kurt Lance Krolikowski
                                              KURT LANCE KROLIKOWSKI
                                              kkrolikowski@lockelord.com
                                              State Bar No. 24074548
                                              RYAN B. BURNS
                                              ryan.burns@lockelord.com
                                              State Bar No. 24116149
                                              600 Travis Street, Suite 2800
                                              Houston, Texas 77002-3095
                                              (713) 226-1200 – telephone
                                              (713) 223-3717 – facsimile

                                              COUNSEL FOR FORA FINANCIAL
                                              ADVANCE, LLC AND FORA
                                              FINANCIAL, LLC.




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument was served upon
the following counsel pursuant to the Texas Rules of Civil Procedure on July 1, 2020.


Marc Tittlebaum
Tittlebaum Law Firm
10680 Royal Cavins Drive
Conroe, Texas 77303
(830) 626-9161 – facsimile




                                            /s/ Kurt Lance Krolikowski
                                            Kurt Lance Krolikowski




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